UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW MEXICO

 

In re: ROMAN CATHOLIC CHURCH OF THE
ARCHDIOCESE OF SANTA FE, A NEW
MEXICO CORPORATION SOLE

Debtor(s)

Post-confirmation Report

Quarter Ending Date: 03/31/2023

Plan Confirmed Date: 12/28/2022

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This Post-confirmation Report relates to: (* Reorganized Debtor

Case No. 18-13027

 

CJ Jointly Administered

Chapter 11

Petition Date: 12/03/2018

Plan Effective Date: 02/16/2023

C Other Authorized Party or Entity:

Bruce A. Anderson /s/
Signature of Responsible Party

04/20/2023
Date

 

 

 

Name of Authorized Party or Entity

Bruce A. Anderson
Printed Name of Responsible Party

 

320 East Neider Ave, Suite 102
Coeur d' Alene, ID 83815
Address

STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.

§ 1320.4(a)(2) applies.

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Debtor's Name ROMAN CATHOLIC CHURCH OF THE
ARCHDIOCESE OF SANTA FE, A NEW

Case No. 18-13027

 

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a. Total cash disbursements

b. Non-cash securities transferred

c. Other non-cash property transferred
d. Total transferred (at+btc)

fees & expenses (bankruptcy)
or on behalf of the debtor

Breakdown by Firm

incurred

irm Name
M Malott
lank Rome LLP
Anderson CHTD Lead Counsel
Industries Corporation Professional
S Papas
Inc
LLC

Hanson Mulins and

Counsel

Counsel

Winter Warburton Counsel

alker and Associates PC Local Counsel
Productions LLC

Stang Ziehl and

Woodcock and

Loman Stanford

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Approved
Current

$59,841

$15,
$3

$0

$36,026
$0
$0

Current Quarter

Total Since
Effective Date

 

 

 

$131,980,234 $131,980,234
$0 $0
$0 $0
$131,980,234 $131,980,234

 

Approved
Cumulative

$7,202,5

$65
$819,24
$1,461,

$1,3
$235
$34,27
$119
$235,111
$1,591,43
$75,315
$2,354,482
$4
$4

Paid Current
Quarter

Paid
Cumulative

$59,841) $7,202,556

$65,544
$819,24
$1,461,484
$200
$1,3
$235
$34,276
$119
$235,11
$1,591,437
$75,315
$2,354,482
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Debtor's Name ROMAN CATHOLIC CHURCH OF THE Case No, 18-13027
ARCHDIOCESE OF SANTA FE, A NEW

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Debtor's Name ROMAN CATHOLIC CHURCH OF THE
ARCHDIOCESE OF SANTA FE, A NEW

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Case No. 18-13027

 

 

 

 

 

 

 

 

 

 

 

 

Approved Approved | Paid Current Paid
Current Quarter} Cumulative Quarter Cumulative

b. iroated by nen behalf of he debtor Aggregate Total $345 $436,426 $345 $436,426

itemized Breakdown by Firm

Firm Name Role

i REDW LLC Financial Professional $0 $332,550 $0 $332,550

ii King Industries Corporation _|Financial Professional $345 $52,505 $345 $52,505

iii Peifer Hanson Mulins and BakeLocal Counsel $0 $101 $0 $101

iv Stelzner Winter Warburton FloqLocal Counsel $0 $51,270 $0 $51,270

 

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Debtor's Name ROMAN CATHOLIC CHURCH OF THE Case No. 18-13027
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Debtor's Name ROMAN CATHOLIC CHURCH OF THE Case No. 18-13027
ARCHDIOCESE OF SANTA FE, A NEW

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All professional fees and expenses (debtor & committees) $60,186] $7,638,982 $60,186] $7,638,982

 

   

 

 

 

 

 

 

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Total
Anticipated % Paid of
Payments Paid Current Allowed
Under Plan Quarter Paid Cumulative Allowed Claims Claims
a. Administrative claims $1,361,816 $60,186 $8,383,551 $9,745,367 86%
b. Secured claims $0 $0 $0 $0 0%
c. Priority claims $0 $0 $0 $0 0%
d. General unsecured claims $0 $0 $0 $0 0%
e. Equity interests $0 $0 $0
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a. Is this a final report? Yes@ NoC
If yes, give date Final Decree was entered: 03/3 1/2023

If no, give date when the application for Final Decree is anticipated:
b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930? Yes @ Nol

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Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a}(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www _justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).

I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, i

any, are true and correct and that I have been authorized to sign this report.

 

 

 

 

Tony Salgado
Signature Responsible Party Printed Name of Responsible Party
Chief Financial Officer 04/20/2023
Title Date

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